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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

LOCATION 24, LLC

              Plaintiff,
                                                8:22-cv-00150
                                      CASE NO. ________________

DOCTORS SAME DAY SURGERY
CENTER, INC. and
HCA HOLDINGS, INC.

           Defendants.
______________________________________________/

                                  COMPLAINT

        Plaintiff, Location 24, LLC (“Plaintiff”), by and through its undersigned

counsel, hereby files its Complaint against Defendants, Doctors Same Day

Surgery Center, Inc. and HCA Holdings, Inc. (collectively, “HCA”), and alleges

as follows:

                           PRELIMINARY STATEMENT

        This is an action for inappropriate restraints on trade and attempts to

monopolize the orthopedic surgical services market in the Sarasota, Florida area

through HCA’s extensive anti-competitive conduct in violation of state and

federal antitrust laws.    HCA implemented a fraudulent scheme that resulted in

multiple breaches of contract and its fiduciary duties as General Partner to

Plaintiff, the controlling of patients’ choice of medical care, the manipulation of

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salaries in the Sarasota orthopedic surgery market, and the reduction of the

number of market participants in the Sarasota area orthopedic surgery market.

        HCA’s anti-competitive scheme involves its acquisition of the largest and

most successful specialty surgical practices in a geographical area under the

guise of a partnership. The sole purpose of the partnerships between HCA and

the surgical practices is the co-ownership of ambulatory surgery centers

(however, the land and buildings are wholly owned by HCA) to be utilized by

the surgical practice. HCA, as landowner and leaseholder for these surgery

centers, appoints itself as the General Partner of the partnership and manager of

the surgery center with complete control over all decisions involving the

partnership and surgery center.

        After assuming total control of the partnership and surgery center, HCA

then deliberately diminishes the quality, reputation, and capabilities of the

surgical practice by controlling the surgical practice’s procedure scheduling and

availability for patients, surgery center employee salaries, and refuses to

properly operate, maintain, improve, and modernize the surgery center as

promised in the partnership and management agreements executed by HCA and

the surgical practice.

        While HCA is exerting this control over the surgery center, HCA allows its

wholly owned hospitals to offer scheduling timeslots for surgical procedures the


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surgery center is prohibited from offering, more competitive salaries for staff

than the surgery center is allowed to offer, and ensures that HCA’s hospitals are

modernized and competitive with the ever-changing needs of the orthopedic

surgical market while almost always refusing to conduct the most basic repairs at

the surgery centers.   By doing this, HCA diverts the surgery centers’ patients

and best nurses and technicians to HCA’s wholly owned hospitals, which are

always located in close proximity to the surgery centers.

        Finally, HCA ensures that every member of these surgical practices,

should they wish to terminate the partnership with HCA, are discouraged to do

so through HCA’s economic threats of diminished partnership share value and

onerous post-dissolution restrictive covenants. The end result of this scheme is

HCA achieving market power for a specific area of surgery in a location through

its unlawful removal its largest and most successful competitors.        Damages,

estimated to be well over $1,000,000.00, will be determined at trial.

                         JURISDICTION AND VENUE

        1.   This Court has jurisdiction over this action pursuant to 28 U.S.C. §

1331 and 28 U.S.C. § 1337, in that this is a civil action arising under 15 U.S.C. §§

1-2.

        2.   This Court also has jurisdiction over this action pursuant to 28

U.S.C. § 1367(a), in that the other claims brought herein form part of the same


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case or controversy as those for which the Court has original jurisdiction

pursuant to 28 U.S.C. § 1331.

        3.   Venue is proper in this district pursuant to 15 U.S.C. § 22 and 28

U.S.C. § 1391(b), as this is the district in which one of the defendants resides and

in which a substantial part of the events giving rise to the claims occurred.

                                  THE PARTIES

        4.   Plaintiff, Location 24, LLC, is a limited liability company organized

under the laws of the state of Florida with its principal place of business located

at 6050 Cattleridge Boulevard, Sarasota, Florida. Location 24, LLC is comprised

of twelve of the eighteen doctors who are part of the Kennedy White Orthopedic

Center.

        5.   Established in 1975, Kennedy White Orthopedic Center has become

one of the leading groups in Florida and the preeminent group in Sarasota

County for orthopedic medical and surgical care.        As the largest orthopedic

surgical practice in the Sarasota area, the Kennedy-White practice consists of

eighteen doctors and twelve Physician Assistants and Nurse Practitioners.

Kennedy White Orthopedic Center’s principal place of business located at 6050

Cattleridge Boulevard, Sarasota, Florida.

        6.   Defendant, HCA Holdings, Inc., is one of the world’s largest for-

profit hospital chains (including ownership of ambulatory surgery centers). Per


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HCA’s website, HCA is one of the nation’s leading provider of healthcare

services and is made up of “locally managed facilities that include more than 180

hospitals and 2,000+ sites of care.”1 HCA operates in twenty-one states in the

U.S. and the United Kingdom. HCA Holdings, Inc. is incorporated in the State of

Delaware with its principal place of business in Nashville, Tennessee. HCA

Holdings, Inc. may be served at CT Corporation System, 800 S. Gay Street, Suite

2021, Knoxville, TN 37929-9710.

          7.      Locally, HCA owns and operates four hospitals and four

ambulatory surgery centers. Statewide, HCA owns forty-six healthcare sites in

Florida.

          8.      HCA Holdings, Inc. is the ultimate parent company of Co-

Defendant, Doctors Same Day Surgery Center, Inc., and was directly and

materially involved through its agents, employees, officers, and directors in

making the pertinent decisions and undertaking the actions detailed herein.

          9.      Defendant, Doctors Same Day Surgery Center, Inc., who is wholly

owned by Co-Defendant HCA Holdings, Inc., is a corporation organized under

the laws of the state of Florida with its principal place of business in Dallas,

Texas. It may be served at 13355 Noel Road, Suite 650, Dallas, Texas 75240.

          10.     In 1995, Plaintiff and HCA executed a Limited Partnership

1   See HCA website: https://hcahealthcare.com/about/our-history.dot.


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Agreement to create Doctors Same Day Surgery Center, Ltd. (hereinafter the

“Partnership”).

        11.   On April 1, 2017, Plaintiff and HCA executed an Amendment and

Restatement of Partnership Agreement (hereinafter the “ARPA”). (See attached

Exhibit “A”)

        12.   The Partnership consists of HCA serving as the General Partner, and

Plaintiff serving as the Limited Partner.

        13.   Since the inception of the Partnership, HCA required that it hold

51% or more ownership units in the Partnership.             Through its majority

ownership of these units, HCA has, at all times, completely controlled all

decisions made by the Partnership.

        14.   The Partnership owns and operates an ambulatory surgery center,

Doctors Same Day Surgery Center (hereinafter the “Surgery Center”), located at

5741 Bee Ridge Road, Sarasota, Florida.

        15.   The property which the Surgery Center is located, and the building

housing the Surgery Center are owned by HCA and were acquired by HCA prior

to the creation of the Partnership.

        16.   Aside from its ownership in the Surgery Center, HCA owns Doctors

Hospital of Sarasota (hereinafter the “Hospital”), which is located adjacent to the

Surgery Center at 5731 Bee Ridge Road, Sarasota, Florida.


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        17.   The Surgery Center is located in a building connected to the

Hospital and both facilities are within walking distance of one another. The red

arrows below identify the building that houses the Surgery Center and the red

circle identifies the Hospital:




        18.   HCA’s three other surgery centers in the Sarasota area share similar

proximities with HCA’s wholly owned hospitals.

        19.   The Hospital is a 155-bed private health care facility offering

specialized care in various fields of medicine including but not limited to

orthopedic care and surgery.

        20.   The Hospital is in direct competition with the Surgery Center and

both facilities are held out by HCA as separate entities.

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                             FACTUAL ALLEGATIONS

        21.   This suit alleges the following causes of action against HCA:

     Contract, Combination, or Conspiracy in Restraint of Trade in Violation of
      Sections 1 and 2 of the Sherman Act (15 U.S.C. §§ 1 and 2);

     Violation of Fla. Stat. § 542.18, et. seq.;

     Breach of Contract;

     Breach of Fiduciary Duty;

     Tortious Interference with Advantageous Business Relationship; and

     Fraud.

        22.    In Florida, HCA owns forty-six healthcare sites.




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        23.   In the Sarasota area, HCA owns and operates four hospitals and

four ambulatory surgery centers:

     Gulf Coast Surgery Center in Bradenton (1);

     Blake Medical Center in Bradenton (2);

     Doctors Same Day Surgery Center in Sarasota (3);

     Doctors Hospital of Sarasota (4);

     Surgery Center at St. Andrews in Venice (5);

     Englewood Community Hospital (6);

     Fawcett Memorial Hospital in Englewood (7); and

     Gulf Pointe Surgery Center in Port Charlotte (8).




        24.   HCA is the owner of the land and surgery center buildings for the

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four ambulatory surgery centers described above.

        25.   As shown above, HCA’s four wholly owned hospitals are in close

proximity to its four ambulatory surgery centers.

        26.   HCA owns four of the eight private hospitals that are located in the

Sarasota area. The remaining four private hospitals are owned by several other

private companies and there is one county-owned hospital.

        27.   As shown, HCA possesses an enormous market share in the hospital

and ambulatory surgery center industry in the state of Florida, and specifically,

the Sarasota area.

I.      HCA’s Scheme and Anti-Competitive Conduct

a. HCA’s Goal is to Unlawfully Control the Orthopedic Surgery Market Share
in the Sarasota Area in Violation of Federal and State Law

        28.   HCA’s conduct, involving Plaintiff and other surgery centers, is the

very definition of anti-competitive, and it evidences its specific intent to

monopolize the orthopedic surgery market through this conduct. HCA’s actions

include but are not limited to the following:

      Preventing patients from choosing the surgery center of their choice by

        intentionally restricting the Surgery Center’s availability for surgical

        procedures.    HCA prohibits the Surgery Center from scheduling

        procedures at highly requested timeslots while allowing the Hospital to

        schedule procedures at these desired times in order to gain competitive

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        ground. This has resulted in the diversion of patients from the Surgery

        Center to the Hospital;

     Preventing patients from choosing the surgery center of their choice by

        intentionally restricting the Surgery Center’s capabilities for surgical

        procedures. HCA failed to implement the Florida legislature’s new 23-

        hour stay provision at the Surgery Center (HCA failed to implement the

        23-hour stay in its other three surgery centers that it owns in the area as

        well). The 23-hour stay gives ambulatory surgery centers and its surgeons

        the opportunity to perform higher-acuity procedures that have historically

        remained in hospital settings due to the required recovery time.

              By avoiding the implementation of the 23-hour stay, HCA hinders

        the Surgery Center’s ability to remain competitive while the 23-hour stay

        has become the norm for ambulatory surgery centers. HCA’s failure to

        implement the 23-hour stay resulted in the diversion of patients from the

        Surgery Center to the Hospital and HCA’s other wholly owned hospitals

        in the Sarasota area;

     Abuse of its market power by manipulating market salaries for nurses and

        staff for its own benefit. HCA prevents the Surgery Center from hiring

        quality nurses and surgery techs by refusing to offer competitive salaries.

        HCA then permits the Hospital to offer more competitive compensation


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        packages in order to capture these essential employees for its own use at

        Plaintiff’s expense;

     Deterring medical equipment and supply vendors from offering

        competitive pricing to Plaintiff. As HCA is a multi-national, billion-dollar

        company, it leverages the threat of taking away lucrative contracts from

        vendors in order to prevent Plaintiff from obtaining the same competitive

        pricing that is given to the Hospital;

     Diverting patients, doctors, and employees to the Hospital by its continued

        refusal maintain an efficient and modernized Surgery Center as required

        by contract;

     Refusing to allocate its portion of profits into the maintenance,

        modernization, and management of the Surgery Center in order to be on

        par with the Hospital; and

     As the General Partner of the Partnership, Manager of the Surgery Center,

        and leaseholder/landowner of the Surgery Center property, HCA refuses

        to advocate for the appropriate maintenance and modernization of the

        Surgery Center due to this glaring conflict of interest.

        29.   HCA’s scheme entails the formation of partnerships in ambulatory

surgery centers with the largest and most successful orthopedic surgery practices

in various locations in and around Sarasota County and the United States. After


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forming partnerships with these surgical practices, HCA, in an attempt to divert

business to its privately owned hospitals, methodically breaks down the

efficiency and reputation of these practices as set forth above and as discussed

further below.

          30.    HCA’s scheme is a premeditated plan that is implemented all over

the country and over an extended period to reach its desired result. The scheme

inevitably breaks down HCA’s partners’ medical practices to ensure that the

number of market participants has been reduced, enabling HCA to control the

specific specialty surgical market in the region.

          31.    HCA’s involvement in litigation stemming from its fraudulent

actions speaks for itself. Among the litany of lawsuits HCA is involved in, HCA

is currently being sued in an antitrust class-action lawsuit in North Carolina2

alleging anti-competitive tactics involving monopolization and price-fixing. The

lawsuit alleges that HCA, as holder of more than 70% of inpatient services in

seven North Carolina counties, acquired medical facilities from another

company, cut costs and staff at the newly-acquired facility, and then diverted

patients to HCA’s flagship facility in an effort to consolidate hospitals and raise

prices. In 2003, HCA was fined $240,000.00 by the state of Florida for price-




2   See William Alan Davis et. al. v. HCA Healthcare, Inc., NC Sup. Ct. No. 21CV03276 (2021).

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fixing/anti-competitive practices3 resulting from HCA’s implementation of a

scheme to control the allocation of geographic and product markets for the acute

care hospital marked in Collier County, Florida. Additionally, HCA was the

focus of the largest health care fraud investigation in U.S. history and was

directed to pay $1.7 billion in penalties and damages. HCA’s fine was a result of

the U.S. Justice Department’s investigation4 finding that HCA engaged in

unlawful practices such as cost report fraud to Medicare and Medicaid and the

payment of kickbacks to physicians.

        32.    From HCA’s perspective, the scheme being implemented here (and

around the country) works extremely well as it enables HCA to successfully 1)

divert patients to the Hospital, 2) assume control over the Sarasota orthopedic

surgery market by removing the largest and most profitable surgical practices

from the area market, 3) manipulate the recruitment of the most accomplished

doctors, nurses, and staff from competing surgery practices to assume the market

share in the area, and 4) deter the dissolution of the Partnership through the

threat of reducing Partnership unit values to practically no value at the time of

buyback from Plaintiff; and 5) deter future competition by implementing a two-

year non-competition agreement that prevents twelve doctors from establishing



3See Florida ex rel. Crist v. HCA, Inc., 2002 WL 32116840 (M.D.Fla. April 23, 2002).
4See Department of Justice News Release, June 26, 2003:
https://www.justice.gov/archive/opa/pr/2003/June/03_civ_386.htm.

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competing surgery centers.

        33.   If allowed to continue, HCA’s anti-competitive conduct will ensure

HCA unlawfully obtains control of patients’ choice of medical care and the

orthopedic surgical market share in the Sarasota area through its attempt to

remove competitors and force patients to use HCA via the consolidation of

facilities providing orthopedic surgery.

        34.   HCA’s   scheme    is   carried   out   through   the   application   of

unreasonable restraints of trade and HCA’s intentional refusal to honor its

contractual commitment and fiduciary duty to properly operate and maintain

the Surgery Center. This scheme leaves doctors with no choice but to leave the

Surgery Center, sell their ownership units back to HCA at an unreasonably

reduced price, and abide by HCA’s overbearing post-sale restrictive covenants.

        35.   HCA is able to conduct this anti-competitive course of dealing

through its sheer size and worldwide presence as one of the largest and powerful

companies in the medical industry. Because HCA is so big, it is easily able to

manipulate vendor pricing, when and where patients can have surgeries

performed, and control the market salaries of nurses and medical staff.

        36.   By carrying out this scheme, HCA is directly restraining patients’

right to seek and obtain the medical assistance of their choice.




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        37.   HCA already initiated attempts to entice Plaintiff’s doctors to

conduct surgeries at other HCA-owned facilities and implemented the same

scheme at surrounding surgery centers.

        38.   HCA, through its ownership of the Hospital, as General Manager of

the Partnership, Manager of the Surgery Center, and as owner/landlord of the

leased space where the Surgery Center resides, takes advantage of its position in

the Partnership with Plaintiff by controlling the scheduling of surgery time slots.

HCA prohibits the Surgery Center from scheduling procedures during weekend

and evening timeframes while permitting the Hospital (and other HCA-owned

hospitals in the area) to offer these coveted surgery time slots. Evening and

weekend time slots are highly sought after by patients and the Surgery Center’s

inability to offer these time slots resulted in a loss of patients.

        39.   HCA prevents the Surgery Center from offering competitive salaries

for its nurses and techs while allowing the Hospital to do so.              HCA’s

manipulation of the disparity in compensation created a high turnover rate for

staff at the Surgery Center. Plaintiff routinely loses its nurses and techs to the

Hospital due to the more lucrative compensation packages the Hospital offers.

HCA’s control of this market compensation ensures the Hospital maintains a

stable and more experienced staff than the Surgery Center. In turn, the overall

efficiency of the service at the Surgery Center suffers, which resulted in the


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diversion of staff and patients to the Hospital.

        40.   Because of HCA’s failure to maintain a consistent staff at the

Surgery Center, Plaintiff is often unable to schedule procedures when it has the

capacity to do so at the Surgery Center. The inability to schedule procedures is

at the expense of the patient and adversely affects the efficiency, profitability,

and reputation of Plaintiff’s practice.

        41.   HCA is deterring medical equipment and supply vendors from

offering competitive pricing to Plaintiff. As HCA is a multi-national, billion-

dollar company, it leverages the threat of taking away lucrative contracts

(nationally and worldwide) from vendors in order to prevent Plaintiff from

obtaining the same competitive pricing that is given to the Hospital.

        42.   HCA’s anticompetitive conduct in conjunction with its drafting of

the ARPA is designed to deter Plaintiff from dissolving the Partnership and

returning to the competitive market. Over the course of the Partnership, Plaintiff

purchased Partnership units that are currently valued at several million dollars

while HCA was supposed to improve the Surgery Center, by among other

things, recruiting other surgical practices to the Surgery Center—HCA failed to

recruit other medical practices as promised to Plaintiff. HCA specifically left out

any guidance in the ARPA regarding the sale of Partnership units in the event of

a dissolution. This omission by HCA is used to threaten the devaluation of units


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to Plaintiff. HCA, due to its failure to recruit other medical practices to the

Surgery Center, can now argue that the Partnership unit value will be reduced to

nothing in the event of dissolution and/or litigation in order to prevent Plaintiff

from leaving the Partnership.

        43.   In conjunction with the threat of lost capital though diminished

Partnership unit value, Plaintiff, which is comprised of twelve doctors, is

prohibited from establishing other surgical centers for a two-year period—this

ensures that HCA retains market power in the Sarasota area.

b. The Contracts Executed by Plaintiff and HCA: The Amended and Restated
Limited Partnership Agreement (ARPA) and Management Agreement

        44.   In 1995, Plaintiff and HCA executed a Limited Partnership

Agreement to create Doctors Same Day Surgery Center, Ltd.

        45.   On April 1, 2017, Plaintiff and HCA executed an Amendment and

Restatement of Partnership Agreement (“ARPA”). (See Exhibit “A”)

        46.   Per Article III of the ARPA, the purpose of the Partnership includes

but is not limited to the improvement, repair, maintenance, remodeling, lease,

and the incorporation of business activities in support of the Surgery Center :




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          47.     Article III also specifically states that the purpose of the Partnership

is to engage in business activities and all other acts that the “General Partner

deems necessary…in furtherance of and consistent with the Partnership’s

purposes.”

          48.     The ARPA also contains a non-competition agreement that prevents

Plaintiff from owning or investing in another ambulatory surgery center within a

twenty-five mile radius of the Surgery Center for a two-year duration.5

          49.     The ARPA does not contain any guidance regarding the sale of

Partnership units upon the dissolution of the Partnership.

          50.     Contemporaneous with the execution of the ARPA, Plaintiff and

HCA executed a Management Agreement for the Surgery Center. (See Exhibit

“B”) The Management Agreement details the management services provided in

the operation of the Surgery Center and the duties of the Manager of the Surgery



5
    See Exhibit A, Article XIV, Section 14.1, pages 21-22.

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Center.

          51.      The Management Agreement dictates that HCA, as General Partner,

also serves as the Manager of the Surgery Center.

          52.      Per the Management Agreement6, the duties of the Manager include

but are not limited to the supervision of the day-to-day operations, materials

management, and recruitment of personnel and medical staff for the benefit of

the Surgery Center and Partnership:




c. HCA’s Breach of the ARPA and Management Agreement

          53.      HCA breached ARPA through its anti-competitive conduct and its

refusal, as the General Partner and Surgery Center Manager, to operate the

Surgery Center as specifically required in these contracts. Specifically, HCA

breached Article III of the ARPA through its deliberate and blatant actions to

serve the benefits of HCA and the Hospital in contravention of Article III and at

the expense of Plaintiff and the Partnership.


6
    Id. at pages 1-2.

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        54.    HCA breached the Management Agreement through its anti-

competitive conduct and its refusal, as Surgery Center Manager, to operate the

Surgery Center as specifically required in these contracts. Specifically, HCA

breached Sections 1.1 of the Management Agreement through its refusal to

properly operate the Surgery Center in accordance with the duties specifically

detailed in Section 1.1.    HCA breached Section 1.5, through its abuse of its

position and glaring conflict of interest as the Surgery Center owner and

Manager, by actively serving the benefits of HCA and the Hospital instead of the

Partnership.

        55.    HCA breached the ARPA and Management Agreement by its

implementation of the scheme to reduce the competitive power of the Surgery

Center though the diminishment of the quality and capabilities of the Surgery

Center.

        56.    Since the inception of the Partnership, HCA failed to properly

maintain and operate the Surgery Center and HCA frustrated the recruitment of

quality staff to the Surgery Center by refusing to offer competitive compensation

for the benefit of the Hospital.

        57.    The end goal of HCA’s scheme is to reduce the number of market

participants, choices available to patients, and to ultimately control the

orthopedic surgery market in the Sarasota area.     HCA will realize this goal


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through its control of compensation for nurses and staff in this market,

scheduling and availability for patients, deterioration of Plaintiff’s and the

Surgery Center’s reputation and staff morale, and, finally, the diversion of

patients, doctors, and staff to the Hospital.

        58.   HCA enters into similar partnership agreements with the intent to

control markets in other locales around the country. To date, HCA failed to

implement the 23-hour stay provision at the Surgery Center and the other three

surgery centers HCA owns in the Sarasota area, while this has become the norm

for ambulatory surgery centers.

        59.   In 2019, the Florida State Legislature passed the healthcare-related

House Bill (HB) 843, which directly impacted ambulatory surgery centers.

Commonly referred to as the “23-hour stay”, the bill amended Florida state

healthcare statute 395.002 to allow patients to remain in an ambulatory surgery

center for up to twenty-four hours (twenty-three hours and fifty-nine minutes).

Previously, the law required that patients be admitted and discharged on the

same day.

        60.   The Florida legislature’s new provision regarding the 23-hour stay

gives ambulatory surgery centers and its surgeons the opportunity to perform

higher-acuity procedures that have historically remained in hospital settings due

to the required recovery time.        This rule change had a direct impact on


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orthopedic surgical practices such as Plaintiff’s in that the number of ambulatory

surgery center-based spine surgeries and total joint replacements could now be

performed on a more common basis.

        61.   While the 23-hour stay has become the norm for ambulatory surgery

centers, HCA, to date, failed to implement the 23-hour stay at the Surgery Center

and the other three Sarasota area surgery centers that it owns. Accordingly,

patients requiring the procedures and recovery time discussed above are

diverted to the Hospital (and HCA’s other hospitals) for HCA’s benefit and at

patients’ and Plaintiff’s expense.

        62.   HCA refuses to properly maintain the Surgery Center’s heating,

ventilation, and air conditioning (HVAC) system. The HVAC system failures

cause condensation to form on the floors of the operating rooms and hallways

that are utilized by both patients and staff. Additionally, the operating room

temperatures cannot not be controlled while procedures are being performed,

resulting in stagnant airflow affecting staff, doctors, and patients. Over the past

several years, the HVAC system at the Surgery Center has repeatedly failed,

preventing Plaintiff from using its operating rooms for an extended amount of

time, thereby disrupting and limiting Surgery Center operations and preventing

patients from obtaining care.

        63.   The HVAC issue has been ongoing and despite multiple complaints


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and requests by Plaintiff to HCA regarding the repeated system failures, HCA

continues to do the bare minimum to resolve this situation.        HCA’s refusal to

properly resolve the HVAC system issue resulted in another system failure that

occurred on December 17, 2021. The system was completely disabled and forced

Plaintiff to cancel all scheduled surgeries for the day.

        64.   It is important to note that as the General Partner in the Partnership,

Manager of the Surgery Center, and owner/landlord of the leased space where

the Surgery Center resides, HCA represents both the landlord and tenant—itself.

        65.    Being that HCA is the General Partner, Surgery Center Manager,

and owner of the space where the Surgery Center resides, there is no incentive

for HCA, in its capacity in any of the above stated roles, to perform its

obligations under the lease, Partnership Agreement, or Management Agreement.

        66.   HCA’s role as the General Partner, Surgery Center Manager, and

owner/landlord of the space where the Surgery Center resides presents a clear

conflict of interest for HCA when it is supposed to negotiate repairs and

improvements in a situation where the landlord and tenant are the same entity.

        67.   Due to the glaring conflict of interest for HCA as landlord and

tenant, Plaintiff (the Limited Partner) has absolutely no say or power to

effectuate any repairs or improvements to the Surgery Center.

        68.   HCA refuses to modernize the Surgery Center to accommodate the


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changing needs of medicine, patients, physicians, and staff. Since the Surgery

Center’s initial construction over sixteen years ago, HCA has not made any effort

to modernize the facility.      At the same time, HCA-owned hospitals are

continually modernized.      HCA’s refusal to modernize the Surgery Center

allowed the Hospital to effectively gain market share at Plaintiff’s detriment.

        69.   Aside from HCA’s hindrance of the Surgery Center’s efforts to

modernize and improve its surgical capabilities, HCA refuses to address more

basic issues such as the Surgery Center not having enough bathrooms to

accommodate patients, doctors, and staff—Plaintiff’s doctors and staff have to

regularly leave the Surgery Center to use a bathroom.

        70.   Plaintiff routinely made complaints to HCA regarding facility

repairs, operational and equipment issues, and staffing problems with little to no

response received.

        71.   On January 13, 2021, Plaintiff submitted a written complaint to

Gregary Beasley, President of Doctors Same Day Surgery Center, Inc. and

employee of HCA, Inc., specifically detailing HCA’s failure to properly operate

and manage the Surgery Center and requesting the immediate resolution of these

issues. Beasley did not respond. (See Exhibit “C”)

        72.   On January 25, 2021, Melissa Egan, Senior Corporate Counsel for

HCA, responded to Plaintiff’s complaint with a terse denial of Plaintiff’s claims


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stating, “…many of the concerns identified in your correspondence contain

factual inaccuracies or have been resolved.” Ms. Egan’s dismissive statement is

entirely untrue and, to date, HCA has not responded to any of Plaintiff’s issues

regarding HCA’s failure to operate and manage the Surgery Center. (See Exhibit

“D”)

           73.      Per Sections 9 and 9.2 of the Management Agreement, HCA’s failure

to perform its material obligations on its part under the Management Agreement

for a period of thirty days after written notice thereof has been given to HCA

constitutes a default of the Management Agreement.

           74.      HCA breached the Management Agreement by not only failing to

properly operate the Surgery Center, but by its failure to address the significant

issues detailed by Plaintiff within the thirty-day period detailed in Section 9.2 of

the Management Agreement7:




           75.      The specific issues detailed in Plaintiff’s January 13, 2021

correspondence to HCA remain unanswered and unresolved by HCA at the time

7
    See Exhibit B, Page 5.

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of this pleading.

          76.        Again, HCA’s strategy is to wrongfully stifle competition and

prevent patients, doctors, staff, and medical practices from engaging in a Florida

marketplace that should be a free market unencumbered by the illegal, or in the

alternative, inappropriate, anti-competitive efforts of a monopolistic organization

such as HCA and its wholly owned subsidiaries.

          77.        Despite the breaches discussed above, HCA continues to receive a

management fee (6% of the average monthly net revenues of the Surgery

Center)8 and realizes profits earned by Plaintiff while HCA invests the bare

minimum of time and capital into the operation of the Surgery Center.

                                          COUNT I
                Contract, Combination, or Conspiracy in Restraint of Trade
                in Violation of Section 1 of the Sherman Act, (15 U.S.C. § 1)

          78.        Plaintiff incorporates the allegations set forth in paragraphs 1

through 77 as though set forth herein.

          79.        HCA’s efforts to frustrate the appropriate operation of Plaintiff’s

surgical practice and control the orthopedic surgical market in the Sarasota area

through the Partnership’s General Partner’s efforts to conspire with the Hospital,

its parent corporation, and medical supply vendors represents a contract,

combination, and conspiracy within the meaning of Section 1 of the Sherman


8
    Id. at Page 3.

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Act.

        80.   As a direct and proximate result of HCA’s continuing violations of

Section 1 of the Sherman Act, patients, Plaintiff, and the Sarasota orthopedic

surgical market suffered and continue to suffer an antitrust injury resulting in

damages in amount yet determined.

        81.   HCA’s actions resulted in reduced quality of care and availability of

treatment for patients, reduced number of market participants, the deprivation of

patients’ benefits of their use of health care facilities, decreased surgeries

performed at the Surgery Center, the diverting of patients to the Hospital due to

capacity, staffing, and operational issues at the Surgery Center, a reduced pool of

experienced nurses and surgery techs for the Surgery Center due to HCA’s

manipulation of market compensation, and the inability to obtain competitive

pricing for medical equipment and supplies due to HCA’s leverage on vendors.

        82.   WHEREFORE, Plaintiff respectfully demands that judgment be

entered against HCA for damages, statutory and otherwise, together with

attorneys’ fees, fines, penalties and costs, as well as any such other relief as the

Court deems just and proper.




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                                     COUNT II
           Contract, Combination, or Conspiracy in Restraint of Trade
      in Violation of Section 1 of the Sherman Act with Regard to the ARPA
                                    (15 U.S.C. §1)

        83.   Plaintiff incorporates the allegations set forth in paragraphs 1

through 77 as though set forth herein.

        84.   HCA’s efforts to frustrate the appropriate operation of Plaintiff’s

surgical practice and control the orthopedic surgical market in the Sarasota area

through the Partnership’s General Partner’s efforts to conspire with the Hospital,

its parent corporation, and medical supply vendors in conjunction with

economic threats and the implementation of restrictive covenants, represents a

contract, combination, and conspiracy within the meaning of Section 1 of the

Sherman Act.

        85.   In 2017, HCA entered into the ARPA with Plaintiff with the intent to

breach its contract and its fiduciary duties as General Partner to Plaintiff through

the demonstrated anti-competitive conduct, to control patients’ choice of medical

care, to manipulate salaries in the Sarasota orthopedic surgery market, and to

reduce of the number of market participants in the Sarasota area orthopedic

surgery market.

        86.   Regarding the sale of Partnership units, HCA specifically left out

any guidance in the ARPA regarding the sale of Partnership units in the event of

a dissolution.    This tactic is used to employ economic threats regarding the

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devaluation of units to Plaintiff to prevent a dissolution, litigation, and to control

the market place.

        87.     Due to HCA’s failure to recruit other medical practices to the

Surgery Center as promised, Plaintiff is the primary source of income for the

Surgery Center.          Accordingly, HCA threatens the severe devaluation of

partnership unit value in the event of dissolution to prevent Plaintiff from

leaving the Partnership.

        88.     In conjunction with the threat of lost capital, Plaintiff, which is

comprised of twelve doctors, is prohibited from establishing or having any type

of ownership in other surgical centers for a two-year period—this ensures that

HCA retains market power in the Sarasota area.

        89.     When viewed in conjunction with HCA’s scheme, the economic

threats       and   restrictive   covenants    implemented   by   HCA   present    an

insurmountable hurdle for Plaintiff to overcome. Through its scheme, HCA is

able to prevent twelve of the most reputable orthopedic surgeons (and Kennedy

White Orthopedic Center) from participating in the Sarasota orthopedic surgical

market.

        90.     HCA’s implementation of its scheme in conjunction with the

aforementioned restrictive covenant ensures that Plaintiff, HCA’s largest

competitor in Sarasota, is held hostage by HCA and removed from the


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orthopedic surgical market.

        91.   As a direct and proximate result of HCA’s continuing violations of

Section 1 of the Sherman Act, patients, Plaintiff, and the Sarasota orthopedic

surgical market suffered and continue to suffer an antitrust injury resulting in

damages in amount yet determined.

        92.   HCA’s actions resulted in reduced quality of care and availability of

treatment for patients, reduced number of market participants, the deprivation of

patients’ benefits of their use of health care facilities, decreased surgeries

performed at the Surgery Center, the diverting of patients to the Hospital due to

capacity, staffing, and operational issues at the Surgery Center, a reduced pool of

experienced nurses and surgery techs for the Surgery Center due to HCA’s

manipulation of market compensation, and the inability to obtain competitive

pricing for medical equipment and supplies due to HCA’s leverage on vendors.

        93.   HCA’s anticompetitive conduct in conjunction with the ARPA is

designed to deter Plaintiff from dissolving the Partnership and returning to the

competitive market, which in turn, ensures 1) that the number of market

participants has been reduced, and 2) HCA maintains control of patients’ choice

of medical care and the orthopedic surgical market share in the Sarasota area.

        94.    WHEREFORE, Plaintiff respectfully demands that judgment be

entered against HCA for damages, statutory and otherwise, together with


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attorneys’ fees, fines, penalties and costs, as well as any such other relief as the

Court deems just and proper.

                                    COUNT III
                    Conspiracy to Monopolize in Violation of
                   Section 2 of the Sherman Act (15 U.S.C. § 2)

        95.   Plaintiff incorporates the allegations set forth in paragraphs 1

through 77 as though set forth herein.

        96.   HCA’s conduct violates Section 2 of the Sherman Act by its attempt

to monopolize the orthopedic surgery market in the Sarasota area.

        97.   HCA’s conduct enables it to monopolize the market for orthopedic

surgery service in the Sarasota area and stifle competition. This will result in

HCA being able to reduce the number of market participants, control the market

share for orthopedic surgical practices, and exert significant control of the choice

provided to insurance companies, Medicare and Medicaid plans, referring

doctors, and patients as to where to access orthopedic services.

        98.   As a direct and proximate result of HCA’s continuing violations of

Section 2 of the Sherman Act, patients, Plaintiff, and the Sarasota orthopedic

surgical market suffered and continue to suffer an antitrust injury resulting in

damages in amount yet determined.

        99.   HCA’s actions resulted in reduced quality of care and availability of

treatment for patients, decreased surgeries performed at the Surgery Center,


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having patients diverted to the Hospital due to capacity, staffing, and

operational issues at the Surgery Center, a reduced pool of experienced nurses

and surgery techs due to HCA’s manipulation of market compensation, and the

inability to obtain competitive pricing for medical equipment and supplies due

to HCA’s leverage on vendors.

        100.   WHEREFORE, Plaintiff respectfully demands that judgment be

entered against HCA for damages, statutory and otherwise, together with

attorneys’ fees, fines, penalties and costs, as well as any such other relief as the

Court deems just and proper.

                                     COUNT IV
                        Violation of Fla. Stat. § 542.18, et.seq.

        101.   Plaintiff incorporates the allegations set forth in paragraphs 1

through 77 as though set forth herein.

        102.   Under Florida’s antitrust statute, Fla. Stat. §§ 542.18 and 542.19,

HCA’s actions are an inappropriate restraint of trade.

        103.   The above-cited Florida Statutes preventing the inappropriate

restraint of trade are patterned after Section I of the Sherman Antitrust Act and

has as its purpose to complement the body of federal law prohibiting restraints

of trade or commerce in order to foster effective competition.




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        104.   A per se violation is one which requires no proof of anti-competitive

effect and is limited to practices which are presumed to affect the market such as

price-fixing, group boycotts, and customer allocations.

        105.   Per se antitrust violations may be established with relatively little

proof and the unlawful effect of the conduct is presumed.

        106.   HCA’s actions affect the quality of care and availability of treatment

for patients, the allocation of patients to Plaintiff, prevents Plaintiff from hiring

experienced nurses and surgical technicians through its manipulation of market

compensation, prevents Plaintiff from obtaining competitive pricing on surgical

equipment and supplies, and prevents Plaintiff from operating at capacity due to

staffing, facility, and operational issues. These restraints applied by HCA are not

only anti-competitive, but directly impede the patient’s right to choose when and

where they can have medical procedures performed.                Accordingly, HCA’s

actions constitute per se violations of Fla. Stat. §§ 542.18 and 542.19.

        107.   This scheme, which is being utilized by a corporation with a U.S.

and European presence as large as HCA (especially when combined with its

various subsidiaries) in Florida, constitute per se anti-competitive efforts that

directly violate Fla. Stat. §§ 542.18 and 542.19 and is an attempt to monopolize

the Sarasota orthopedic surgery market by preventing fair competition in the

orthopedic surgery market, restricting patients’ ability to use the medical practice


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of their choice, and from preventing Plaintiff’s ability to hire the staff of its choice

due to the manipulation of marketplace compensation. These anti-competitive

activities have already resulted in the reduction of patients’ choices for

orthopedic care, thus causing market-wide damage.

        108.   HCA’s tactics have an anti-competitive effect on the marketplace.

HCA seeks to control a specifically defined surgical market, possess the ability to

affect price of equipment and supplies, and has further excluded Plaintiff from

this market by preventing Plaintiff (as a result of HCA’s actions) from hiring

quality nurses, surgical techs, and staff for the Surgery Center.

        109.   Upon information and belief, HCA is employing the same scheme

with other similarly situated medical practices around the country.

        110.   Plaintiff’s exclusion from the orthopedic surgical market, via HCA’s

tactics mentioned above, has damaged Plaintiff and patients, as well as the entire

orthopedic surgical services marketplace in the Sarasota area.

        111.   HCA’s actions were intended to affect and did affect Plaintiff’s (and

all other similarly situated surgical practices) ability to operate in the orthopedic

surgery market.

        112.   HCA’s actions were intended to and did affect the availability of

surgical services in the orthopedic surgery market.




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        113.   WHEREFORE, Plaintiff respectfully demands that judgment be

entered against HCA for treble damages as provided by statute, together with

attorneys’ fees, interest, fines, penalties and costs, as well as any such other relief

as the Court deems just and proper.

                                    COUNT V
                            Breach of Contract (ARPA)

        114.   Plaintiff incorporates the allegations set forth in paragraphs 1

through 77 as though set forth herein.

        115.   On April 12, 2017, Plaintiff and HCA executed an Amendment and

Restatement of Partnership Agreement (“ARPA”).

        116.   HCA, through its anti-competitive conduct, materially breached the

Article III of the ARPA with Plaintiff. HCA breached Article III of the ARPA

through its deliberate and blatant actions to serve the benefits of HCA and the

Hospital in contravention of Article III and at the expense of Plaintiff and the

Partnership.

        117.   HCA breached the ARPA by its implementation of the scheme to

reduce the overall quality and efficiency of the Surgery Center for the benefit of

the Hospital.

        118.   HCA Breached the ARPA by prohibiting the Surgery Center from

scheduling procedures at competitive time slots while allowing the same at the

Hospital.

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        119.   HCA Breached the ARPA by frustrating the Surgery Center’s

employee recruitment through its manipulation of compensation rates for staff in

favor of the Hospital.

        120.   HCA Breached the ARPA by diverting patients, doctors, and

employees to the Hospital by its continued refusal maintain an efficient,

competitive, and modernized Surgery Center.

        121.   HCA Breached the ARPA by deterring medical equipment and

supply vendors from offering competitive pricing to Plaintiff.

        122.   Plaintiff, as a direct and proximate result of HCA’s material breaches

of the Management Agreement, sustained damages related to its business and

reputation due to its inability to recruit and maintain quality nurses and staff,

operate in an efficient and modern surgical facility, and provide the same

availability and care to patients as the Hospital and other competing surgery

centers.

        123.   WHEREFORE, Plaintiff respectfully demands that judgment be

entered against HCA for damages, statutory and otherwise, together with

attorneys’ fees, interest, fines, penalties and costs, as well as any such other relief

as the Court deems just and proper.




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                                    Count VI
                   Breach of Contract (Management Agreement)

        124.   Plaintiff incorporates the allegations set forth in paragraphs 1

through 77 as though set forth herein.

        125.   On April 1, 2017, Plaintiff and HCA executed the Management

Agreement.

        126.   HCA, through its anti-competitive conduct, materially breached

Sections 1.1 of the Management Agreement through its refusal to properly

operate the Surgery Center in accordance with the duties specifically detailed in

Section 1.1.

        127.   HCA breached Section 1.5 of the Management Agreement through

its abuse of its position and glaring conflict of interest as the Surgery Center

owner and Manager, by actively serving the benefits of HCA and the Hospital

instead of the Partnership.

        128.   HCA breached Section 9.2 of the Management Agreement by its

failure to address and resolve the significant maintenance, staff, and equipment

issues detailed by Plaintiff in its January 13, 2021 demand letter to HCA within

the thirty-day period detailed in the Management Agreement.

        129.   HCA breached the Management Agreement by frustrating the

Surgery Center’s recruitment of nurses and staff through its manipulation of

compensation rates for staff in favor of the Hospital.

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        130.   HCA breached the Management Agreement by its continued refusal

maintain an efficient, competitive, and modernized Surgery Center.

        131.   HCA breached the ARPA by deterring medical equipment and

supply vendors from offering competitive pricing to Plaintiff.

        132.   Plaintiff, as a direct and proximate result of HCA’s material breaches

of the Management Agreement, sustained damages related to its business and

reputation due to its inability to operate an efficient and modernized surgical

facility, recruit and maintain quality nurses and staff, and provide the same

availability and care to patients as the Hospital and other competing surgery

centers.

        133.   WHEREFORE, Plaintiff respectfully demands that judgment be

entered against HCA for damages, statutory and otherwise, together with

attorneys’ fees, interest, fines, penalties and costs, as well as any such other relief

as the Court deems just and proper.

                                     Count VII
                              Breach of Fiduciary Duty

        134.   Plaintiff incorporates the allegations set forth in paragraphs 1

through 77 as though set forth herein.

        135.   Through the Partnership, Plaintiff placed its trust and confidence in

HCA, as the General Partner and Surgery Center Manager, to support the



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purpose of the Partnership that includes but is not limited to the operation,

maintenance, and improvement of the Surgery Center.

        136.   Plaintiff placed its trust and confidence in HCA as the General

Partner and Surgery Center Manager, by allowing HCA to maintain total control

over all decisions related to the support the purpose of the Partnership and

Surgery Center.

        137.   HCA’s duties specifically entailed the management, operation,

repair, leasing, recruitment and hiring of staff and doctors, modernization, and

all related decisions and business activities in furtherance of and for the benefit

of the Partnership and Surgery Center.

        138.   HCA, acting as General Partner and Manager of the Surgery Center,

breached its fiduciary duty to Plaintiff by its intentional implementation of the

scheme to reduce the overall quality and efficiency of the Surgery Center for

HCA’s own benefit.

        139.   HCA, through its anti-competitive conduct, breached its fiduciary

duty to Plaintiff by frustrating the Surgery Center’s recruitment of nurses and

staff through the manipulation of market salaries for HCA’s own benefit.

        140.   HCA, through its anti-competitive conduct, breached its fiduciary

duty to Plaintiff by preventing patients from choosing the surgery center of their




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choice by intentionally restricting the Surgery Center’s availability for surgical

procedures.

        141.   HCA, through its anti-competitive conduct, breached its fiduciary

duty to Plaintiff by preventing patients from utilizing the Surgery Center by

intentionally restricting the Surgery Center’s capabilities for surgical procedures

(HCA’s failure to implement the 23-hour stay).

        142.   HCA, through its anti-competitive conduct, breached its fiduciary

duty to Plaintiff by deterring medical equipment and supply vendors from

offering competitive pricing to Plaintiff.

        143.   HCA, through its anti-competitive conduct, breached its fiduciary

duty to Plaintiff by intentionally diverting patients, doctors, and employees to

the Hospital by HCA’s refusal maintain an efficient and modernized Surgery

Center as required by contract.

        144.   Plaintiff, as a direct and proximate result of HCA’s breaches and

anti-competitive conduct, sustained damages related to its business and

reputation due to its inability to properly compete in the Sarasota orthopedic

surgical market, operate an efficient and modernized surgical facility, recruit and

maintain quality nurses and staff, and provide the same availability and care to

patients as the Hospital and other competing surgery centers.




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        145.     WHEREFORE, Plaintiff respectfully demands that judgment be

entered against HCA for damages, statutory and otherwise, together with

attorneys’ fees, interest, fines, penalties and costs, as well as any such other relief

as the Court deems just and proper.

                                       Count VIII
             Tortious Interference With Advantageous Business Relationship

        146.     Plaintiff incorporates the allegations set forth in paragraphs 1

through 77 as though set forth herein.

        147.     Plaintiff, through its medical practice, Kennedy White Orthopedic

Center, developed substantial business relationships with doctors, patients, and

medical equipment/supply vendors since its inception in 1975.

        148.     Plaintiff’s reputation, patients, relationships with vendors, and

referral sources pre-date the Partnership with HCA. The patients that utilize the

Surgery Center are there solely because of their existing relationships and the

reputation of the doctors of the Kennedy White Orthopedic Center.                HCA

interfered with these relationships by intentionally degrading the quality and

availability of the services provided by Plaintiff.

        149.     HCA, upon entering into the Partnership with Plaintiff to own and

operate the Surgery Center, was aware of the aforementioned existing

relationships that Plaintiff cultivated with doctors, patients, medical staff, and

vendors over the past several decades.

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           150.     HCA, through its anti-competitive conduct, intentionally and

unjustifiably interfered with Plaintiff’s doctor, patient, and vendor relationships.

           151.     Plaintiff, as a direct and proximate result of HCA’s interference,

sustained damages related to its business and reputation.

           152.     WHEREFORE, Plaintiff respectfully demands that judgment be

entered against HCA for damages, statutory and otherwise, together with

attorneys’ fees, interest, fines, penalties and costs, as well as any such other relief

as the Court deems just and proper.

                                          Count IX
                                           Fraud

           153.     Plaintiff incorporates the allegations set forth in paragraphs 1

through 77 as though set forth herein.

           154.     HCA required that it maintain a 51% interest in the Partnership and

have absolute control over all decisions made for the Partnership.

           155.     Plaintiff put trust and confidence in HCA, as the General Partner

and Surgery Center Manager, to support the purpose of the Partnership through

HCA’s promise to, among many duties, manage the operation, maintenance, and

improvement of the Surgery Center for the benefit of the Surgery Center9.

           156.     Upon the execution of the ARPA in 2017, HCA knew that its intent

was to enter into this contract to hurt, not help, Plaintiff.

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    Supra notes 2 and 6, pp. 14-15.

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        157.   Upon the execution of the ARPA in 2017, HCA knew that its intent

was to take advantage of its position as landowner, leaseholder, General Partner,

and Surgery Center Manager for HCA’s benefit.

        158.   Upon the execution of the ARPA in 2017, HCA knew that its intent

was to implement a scheme to gain control over the Sarasota area orthopedic

surgical market.

        159.   Plaintiff, as a direct and proximate result of HCA’s actions,

sustained damages related to its business and reputation due to its inability to

properly compete in the Sarasota orthopedic surgical market, operate an efficient

and modernized surgical facility, recruit and maintain quality nurses and staff,

and provide the same availability and care to patients as the Hospital and other

competing surgery centers that were not owned by HCA.

        160.   WHEREFORE, Plaintiff respectfully demands that judgment be

entered against HCA for damages, statutory and otherwise, together with

attorneys’ fees, interest, fines, penalties and costs, as well as any such other relief

as the Court deems just and proper.

                                 Request for Relief

        WHEREFORE, Plaintiff respectfully requests that this Court:

A. Order the dissolution of the Partnership;

B. Declare the ARPA and Management agreements null and void;


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C. Declare that the non-competition and non-solicitation agreements contained

in the ARPA are deemed invalid and unenforceable, thus allowing Plaintiff to

immediately open, own, and operate other surgery centers within the twenty-

five mile radius of the Surgery Center;

D. Order that HCA purchase Plaintiffs remaining ownership units in the

Partnership at fair market value;

E. Order the disgorgement of all ill-gotten gains by HCA including but not

limited to all management fees paid by Plaintiff to HCA from, at least, 2017 to

present;

F. Order HCA to reimburse Plaintiff’s attorneys’ fees and costs incurred in

pursuit of this claim per 15 U.S.C. § 15, Fla. Stat. §§ 542.18 and 542.19;

G. Award treble damages to Plaintiff per 15 U.S.C. § 15, Fla. Stat. §§ 542.18 and

542.19;

H. Award punitive damages to Plaintiff per Fla. Stat. § 768.72; and

I.     Appropriately sanction HCA under Federal and State law for its

implementation of its scheme. By implementing the scheme, HCA took measures

to destroy Plaintiff’s medical practice and control the orthopedic surgical market

through its expansive facility ownership and presence in the medical industry

via price-fixing and self-dealing at the expense of Plaintiff and its patients.




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DATED: January 18, 2022.

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